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                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JOHN DOE,                                                    :
      Plaintiff,                                             :
                                                             : No. 4:19-cv-01234
                        vs.                                  :
                                                             : (Hon. Brann)
THE PENNSYLVANIA STATE                                       :
UNIVERSITY,                                                  : Electronically Filed
       Defendant.                                            :
                                                             :

                                    Defendant The Pennsylvania State
                              University’s Motion to Exceed Page Limitations

             Defendant The Pennsylvania State University (the “University”), by and

through its undersigned counsel, respectfully requests the Court to allow it to

exceed the page limitations set forth in Local Rule 7.8(b), averring in support

thereof as follows:

             1.         The University intends to file a brief in opposition to Plaintiff John

Doe’s self-styled Motion for Emergency Temporary Restraining Order and/or

Preliminary Injunction (Doc. 3) (the “Motion”) and Doe’s supporting brief (Doc.

4).

             2.         Doe’s Motion, and his Complaint (Doc. 1), raise numerous

constitutional and other legal issues of law. The University is unable to

sufficiently respond to those complex issues while complying with the briefing

limitations of L.R. 7.8(b).



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             3.         Further, Doe’s supporting brief (Doc. 4) greatly exceeds the limits of

L.R. 7.8(b) (despite not receiving in advance leave of Court to exceed those limits).

The University needs to exceed the limits of L.R. 7.8(b) to fairly respond to the

issues and arguments raised in Doe’s brief.

             4.         The University therefore respectfully requests the Court to allow the

University to file an opposition brief to the Motion of no more than 40 pages.

             WHEREFORE, Defendant The Pennsylvania State University respectfully

requests the Court to:

             a.         Grant this Motion;

             b.         Enter an order allowing the University to file a brief in opposition to

Doe’s Motion (Doc. 3) up to 40 pages in length; and

             c.         Grant such further relief as the Court deems just and appropriate.

                                                         Respectfully submitted,

Dated: July 19, 2019                                     /s/ Cory S. Winter
                                                         Cory S. Winter (PA306552)
                                                         Saul Ewing Arnstein & Lehr LLP
                                                         2 North Second Street, 7th Floor
                                                         Harrisburg, PA 17101
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                                                         Attorney for Defendant




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                            CERTIFICATE OF CONCURENCE

             I hereby certify that before filing this Motion, counsel for the Defendant

sought the concurrence of Plaintiff’s counsel. I further certify that Plaintiff’s

counsel concurs with the relief requested by this Motion.


Dated: July 19, 2019                                /s/ Cory S. Winter
                                                    Cory S. Winter




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                                CERTIFICATE OF SERVICE

             I hereby certify that on the date set forth below, I caused a true and correct

copy of the foregoing Motion to be served upon the following via the Court’s ECF

system:

                                     Andrew Shubin, Esquire
                                      333 South Allen Street
                                     State College, PA 16801
                                       Counsel for Plaintiff


Dated: July 19, 2019                                 /s/ Cory S. Winter
                                                     Cory S. Winter




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